                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       NO.3:10-00065
                                                 )       JUDGE CAMPBELL
QUINCY MARUICE FUQUA, et al.                     )

                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 339). The Government shall file a response to the Motion by November 22, 2013.

       It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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